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                                         UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF INDIANA
                                               FORT WAYNE DIVISION

IN THE MATTER OF                              )
                                              )        BANKRUPTCY CASE 17-11735
RYAN A. BRITE                                 )             Chapter 7
                                              )
                  Debtor.                     )

                                     MOTION TO TURNOVER PROPERTY

         Comes now the T rustee, Yvette Gaff Kleven, and moves the Court for an Order of T urnover, and in

support thereof, states the following:

         1. T his matter commenced by the filing of a Voluntary Petition under Chapter 7 of the Bankruptcy

Code on September 7, 2017.

         2. Yvette Gaff Kleven was appointed Chapter 7 T rustee.

         3. T he T rustee requested that the Debtor provide her with copies of his 2017 state and federal income

tax returns.

         4. T he Debtor provided the T rustee with copies of his 2017 state and federal income tax returns

showing the Pre-Petition portion of those refunds to be $1,199.52.

         5. T he T rustee requested that the Debtor surrender to his bankruptcy estate the sum of $1,199.52.

         6. T o date, the Debtor has failed to surrender to his bankruptcy estate the Pre-Petition portion of his

income tax refunds in the amount of $1,199.52.

         WHEREFORE, theT rustee prays that the Court issue an Order directing the Debtor to pay to his

bankruptcy estate the sum of $1,199.52, and for all other just and proper relief in the premises.

                                                       Respectfully submitted,

                                                       /S/Yvette Gaff Kleven, #8373-02
                                                       Yvette Gaff Kleven, Chapter 7 T rustee
                                                       111 West Wayne Street
                                                       Fort Wayne, Indiana 46802
                                                       T elephone: (260) 407-7077
                                                       ygk@adelspergerkleven.com
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                                            CERTIFICATE OF SERVICE

         T he undersigned hereby certifies that on the 12th day of November, 2018, a true and correct copy of

the above and foregoing Motion to T urnover Property was transmitted electronically through the Bankruptcy

Court’s ECF System to:

United States T rustee, UST PRegion10.SO.ECF.usdoj.gov

Justin R. Wall, Attorney at Law, justin@walllegalservices.com

and was sent via first class United States mail, postage prepaid, to:

Ryan A. Brite, 2528 Hogans Alley, Decatur, IN 46733

                                                       /S/Yvette Gaff Kleven, #8373-02
                                                       Yvette Gaff Kleven, Chapter 7 T rustee
                                                       111 West Wayne Street
                                                       Fort Wayne, Indiana 46802
                                                       T elephone: (260) 407-7077
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